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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                             Case No. 1:23-md-03076-KMM; MDL No. 3076
INRE:
FTX Cryptocurrency Exchange Collapse
Litigation
This Document Relates to:
All Actions




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                                  NOTICE OF CHANGE OF ADDRESS

           Attorney Joseph R. Saveri                                    files this Notice of Change

   of Address in the above captioned case. All future pleadings, memoranda, correspondence, orders,

   etc., shall be sent to:

                    Law Firm: JOSEPH SAVERI LAW FIRM, LLP

                    Address:     601 California Street, Suite 1505
                                 San Francisco, California 94108



                                           Certificate of Service


           I hereby certify that a true and correct copy of the Notice of Change of Address was
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   Dated: 04/09/2024                 Respectfully submitted,

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